        4:18-cv-04196-SLD-JEH # 34              Page 1 of 4                                               E-FILED
                                                                          Friday, 28 August, 2020 04:41:03 PM
                                                                                  Clerk, U.S. District Court, ILCD

                         IN THE UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                 ROCK ISLAND DIVISION

 SISAWAT SINGMUONGTHONG,                        )
                                                )
       Plaintiff,                               )     Case No.: 18-4196-SLD-JEH
                                                )
                v.                              )
                                                )
 EDWIN R. BOWEN, in his individual              )
 capacity, and JOHN BALDWIN, in his             )
 individual capacity,                           )
                                                )
       Defendants.                              )
                                                )

                      JOINT MOTION TO AMEND DISCOVERY PLAN

        NOW COME the Plaintiff, Sisawat Singmuongthong, by and through his attorney, Jaclyn

N. Diaz of Ed Fox & Associates, Ltd., and Defendants, EDWIN R. BOWEN and JOHN

BALDWIN, by and through their attorney, Kwame Raoul, Attorney General for the State of

Illinois, and jointly move this honorable Court to amend the Discovery Plan and trial schedule in

this action. In support, the parties state the following:

    1. On June 14, 2019, the parties submitted a proposed Discovery Plan [Doc. 25], which the

        Court adopted on June 17, 2019, by text order. [Doc. 26]

    2. On November 1, 2019, the parties jointly moved to amend the Discovery Plan [Doc. 32],

        which the Court granted on November 4, 2019, by text order.

    3. On May 1, 2020, the parties jointly moved to amend the Discovery Plan [Doc. 33], which

        the Court granted on May 4, 2020. [Doc. 34]

    4. Under the current discovery plan, the parties were to complete all discovery by September

        1, 2020 and to file dispositive motions by October 16, 2020. A jury trial is set in this matter

        for March 1, 2021 with the Final Pretrial Order due January 8, 2021. [Doc. 34]
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   5. Since the Court’s last order amending the discovery plan, the parties have successfully

       taken Plaintiff’s deposition by remote means. The parties are seeking to take at least four

       additional witness depositions.

   6. The parties have jointly been working together to keep discovery moving in this case

       despite hinderances caused by the COVID-19 pandemic. For example, Plaintiff currently

       resides in Arkansas, a state recognized by the Illinois Department of Health as being

       “higher risk” for travel due to COVID-19, and despite the obvious benefits of taking the

       deposition of a named party in person, the parties were able to mutually agree to proceeding

       remotely.

   7. Despite the parties’ efforts, the parties need additional time to complete the remaining

       discovery and are seeking to amend the close of discovery to October 30, 2020 and to make

       dispositive motions due November 30, 2020.

   8. The parties requested discovery extension will not unduly affect the jury trial currently

       scheduled for March 1, 2021.

   9. This motion is not brought for the purposes of undue delay and the parties will not be

       prejudiced should this motion be granted.

   WHEREFORE, Plaintiff, SISAWAT SINGMUONGTHONG, and Defendants, EDWIN

R. BOWEN and JOHN BALDWIN, jointly move this honorable Court to amend the existing

Discovery Plan to extend the deadlines for the close of all discovery to October 30, 2020 and for

dispositive motions to November 30, 2020, and for any further relief the Court deems appropriate

and just.
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Respectfully submitted,




SISAWAT SINGMUONGTHONG,              EDWIN R. BOWEN and JOHN BALDWIN,
Plaintiff,                           Defendants,
JACLYN N. DIAZ,                      KWAME RAOUL, Attorney General,
                                     State of Illinois,

Attorney for Plaintiff,              Attorney for Defendants,

By: s/Jaclyn N. Diaz                 By: s/Scott B. Sievers (by consent)

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                       IN THE UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF ILLINOIS
                               ROCK ISLAND DIVISION

 SISAWAT SINGMUONGTHONG,                    )
                                            )
      Plaintiff,                            )    Case No.: 18-4196-SLD-JEH
                                            )
               v.                           )
                                            )
 EDWIN R. BOWEN, in his individual          )
 capacity, and JOHN BALDWIN, in his         )
 individual capacity,                       )
                                            )
      Defendants.                           )
                                            )

                                 CERTIFICATE OF SERVICE

      I hereby certify on August 28, 2020, the foregoing document, Joint Motion to Amend
Discovery Plan, was electronically filed with the Clerk of the Court using the CM/ECF system,
which will send notification of such filing to the following:

       Scott B. Sievers
       Assistant Attorney General
       500 South Second Street
       Springfield, IL 62701
       (217) 782-1841 Phone
       (217) 782-8767 Fax
       Email: ssievers@atg.state.il.us


                                                  Respectfully submitted,


                                                  /s/ Jaclyn N. Diaz
                                                  Jaclyn N. Diaz
                                                  jdiaz@efoxlaw.com
                                                  Ed Fox & Associates, Ltd.
                                                  300 W. Adams Street, Suite 330
                                                  Chicago, Illinois 60606

                                                  Counsel for Plaintiff
